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Attorneys for Petitioner

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------){
MICHAEL MELOHN,                                                             Civil Action No.

                                    Petitioner,

         -against-                                                          PETITION FOR
                                                                            PRE-ACTION
SY STERN, ARYEH ZAKS,                                                       DISCOVERY
SIMA WEINTRAUB, AKIVA FEINSOD,                                              PURSUANT TO
ELI KUNTSLINGER, Y AAKOV BEYMAN,                                            F.R.C.P 27
DAVID TEILER, ROBERT KUNTSLINGER,
EZRA BEYMAN, ALFONS MELOHN,
and JOHN DOES 1-20.

                                    Respondents.
-----------------------------------------------------------------------){
         COMES NOW Petitioner, MICHAEL MELOHN, (hereinafter "Petitioner"), by and

through his counsel, Condon & Mara, PLLC, as and for his Petition for Pre-Action Discovery,

pursuant to Rules 27 and 34 of the Federal Rules of Civil Procedure ("F.R.C.P."), state as follows:

    1. Petitioner respectfully petitions this Court for an Order and Judicial Subpoenas Duces

Tecum directing the Respondents, SY STERN ("Stern"), ARYEH ZAKS ("Zaks"), SIMA

WEINTRAUB ("Weintraub"), AKIVA FEINSOD ("Feinsod"), ELI KUNTSLINGER ("E.

Kuntslinger"), DAVID TEILER ("Teiler"), ROBERT KUNTSLINGER ("R. Kuntslinger"),

EZRA BEYMAN ("E. Beyman"), Y AAKOV BEYMAN ("Y. Beyman") and ALFONS MELOHN

(hereinafter collectively "Respondents") to submit to a deposition or, alternatively, to produce
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documents showing the identity of Respondents John Does 1-20 (the "John Doe Respondents"),

who participated in and/or conspired to participate in the pattern of racketeering activities by which

the named and known Respondents have engaged and/or conspired to commits acts of racketeering

since in or about 2013 through present date, proximately causing injury to Petitioner, the Alfons

and Elizabeth Melohn 1997 Trust Agreement (the "Trust"), and Respondent Alfons Melohn,

insomuch as Respondents have induced, coerced, extorted, and/or manipulated Respondent Alfons

Melohn to, inter alia, (i) transfer, invest, and/or otherwise remit in excess of $100 Million Dollars

to one or more Respondents to perpetuate a fraudulent scheme of, inter alia, money laundering,

fraud, conversion to the detriment of the Petitioner, the Trust, and Alfons Melohn and to the sole

benefit of one or more of the Respondents and/or the John Doe Respondents, otherwise known as

the participating parties whose identities are unknown to Petitioner at this time; (ii) commingled

Trust funds, to which Petition~r is the intended beneficiary and equitable interest holder of said

assets, in perpetuation of the aforesaid fraudulent scheme; (iii) remit and cash in govemment-

issued bonds, issued in the name of the Petitioner, and thereafter converted the cash value of said

bonds to the detriment and exclusion of the Petitioner; (iv) upon information and belief, took

advantage of Alfons Melohn having been overmedicated so that Alfons Melohn's mental faculties

and capacities would be impaired so as to allow Respondents to easily coerce, induce, extort,

and/or manipulate Alfons Melohn to agree with and participate in their fraudulent scheme, Alfons

Melohn's participation being that of conciliation and provision of monies; (v) having removed

Elizabeth Melohn as Trustee from the Trust, and in her place, naming Respondent Weintraub, who

 is the wife of Respondent Zaks, and, upon information and belief, agreeing to Respondent

 Weintraub earning a an excessive five hundred thousand ($500,000.00) dollar annual trustee

 salary, despite her non-involvement in the family matters and Trust; and (vi) having hired family
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members for "no show" jobs in Assisted Living Facilities in Florida who were paid from

corporations owned by Alfons Melohn.

   2. Petitioner is one of the children of Alfons Melohn and Elizabeth Melohn.

   3. Respondents' fraudulent scheme of racketeering activities began in or around 2013 and

continues through the present date.

   4. Petitioner intends to commence an action against Respondents and the John Doe

Respondents for, inter alia, violations of civil RICO pursuant to 18 U.S.C. § 1961 et seq., fraud,

conversion, constructive trust, and money had and received, the scheme by which Respondents

intended to harm Petitioner and Respondent Alfons Melohn. Upon information and belief, the

amount of damages sought will exceed $100 Million Dollars, based upon the damages sustained

to Petitioner, the Trust, and Alfons Melohn.

    5. Petitioner cannot commence an action at the present time with the particularity and

specificity required for the prospective causes of action because Petitioner does not know the

identity of the John Doe Respondents, and based on the contentious nature of the intra-family

relationship and the Respondents, it would be futile to request that the Respondents voluntarily

provide such information.

    6. Petitioner requires the true identity of the Respondents and the particularities surrounding

the transactions induced and coerced by the Respondents in order to properly commence the action

described herein above, i.e. civil RICO, fraud, conversion, etc.
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   7. Therefore, Petitioner respectfully requests that this Honorable Court issue a Judicial

Subpoena Duces Tecum, pursuant to FRCP 27 and 34, upon the named Respondents herein,

directing Respondents to submit to a deposition or, alternatively, produce documents showing the

true identity of the John Doe Respondents, who have engaged in and/or conspired to engage in the

fraudulent racketeering scheme perpetuated by the named Respondents.

   8. No prior application has been made for the relief requested in this Petition.

Dated: Nanuet, New York
       July 17, 2020
                                                    Yours, etc.




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